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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA

v.                                                         1:00cr15-004-SPM

LINDA WILSON

                                   /

                                             ORDER

       IN CONSIDERATION of the government’s second petition for writ of attachment,

alleging that defendant tendered $5,000.00 as a fee to file a claim and cost bond and

finding that said money being held by the United States Marshal should be applied

toward the order of restitution in accordance with 18 U.S.C. § 3664(k) and (n);

       IT IS HEREBY ORDERED that the United States Marshal shall transfer and pay

$5,000.00 to the Clerk of Court.

       IT IS FURTHER ORDERED that the Clerk of Court shall apply these funds

toward restitution payments to the victims.

       DONE AND ORDERED this 15th day of August 2007.


                                         s/ Stephan P. Mickle
                                       Stephan P. Mickle
                                       United States District Judge
